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                 ,.                  UNITED STATES BANKRUPTCY COURT, SOUTIIERN DISTRICT OF FLORIDA

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                                                                                             0




                                                           CHAPTER J3 PLAN (Individual Adjustment of Debts.)
                            0 - - - - - - - - - - - O r i g i n a l Plan
                            I!J. 7TH                         Amended Plan (Indicate 1st, 2nd, etc. Amended, if applicable)
                            0                                                       Modified Plan (Indicate 1st, 2nd. etc. Modified, if applicable)

DEBTOR: MARIA ROSA KOROLYZEN                                          JOJNT D E B T O R : - - - - - - - - - CASE NO.: 18-15580-RBR
SS#: xxx-xx- 7607                                                         SS#: xxx-xx-
I.            NOTICES
                                                                                                 ---
                                                                                                                                                                                                   ',


              To Debtors:             Plans that do not comply with local rules and judicial rulings may not be confirmable. All plans, amen~ plans
                                      and modified plans shall be served upon all creditors and a certificate of service filed with the Clerk pu uant to
                                      Local Rules 2002-1 (C)(S), 3015-I(B)(2), and 3015-2. Debtor(s) must commence plan payments within 0 days of
                                      filing the chapter 13 petition or within 30 days of entry of the order converting the case to chapter 13. !
              To Creditors:           Your rights may be affected by this plan. You must tile a timely proof of claim in order to be paid. Your \claim may
                                      be reduced, modified or eliminated.                                                                       ',
              To All Parties:          The plan contains no nonstandard provisions other than those set out in paragraph VIII. Debtor(s) must c heck one
                                       box on each line listed below in this section to state whether the plan includes any of the following:
  The valuation of a secured claim, set out in Section Ill. which may result in a
  partial payment or no payment at all to the secured creditor                                                                                  1!1      Included                  0            Not ncluded
  Avoidance of a judicial lien or non possessory, nonpurchase--money security interest.                                   set
  out in Section III                                                                                                                            0        Included                  1!1          Not ncluded
  Nonstandard provisions, set out in Section VIIl                                                                                               1!1      Included                  0            Not ncluded
                                                                                                                                                                                                        I
II.           PLAN PAYMENTS. LENGTH OF PLAN AND DEBTOR(S) I ATTORNEY'S FEE

              A. MONTHLY PLAN PAYMENT: This Plan pays for the benefit of the creditors the amounts listed below, i~uding ttstee's
                 fees of 10%, beginning 30 days from the filing/conversion date. In the event the trustee does not retain the ~)0%, an unused
                      amount will be paid to unsecured nonpriority creditors pro-rata under the plan:                                                                             'i;~':                ,
                                                                                                                                                                                  (~-:,                 I
                                                                                                                                                                                  ~--·~                 I
                                                                                                                                                                                  c.:,                  'I




                                                                                                                                                                                   ~~~
                      I.   -=$:..:. 1z=.•5..:. .17:..:.:.S:..:5:.___ _ for months_)_ to_5_

                      2.   ...;::$:..:.1~,6:..:..1.:;;8."'"5"'-l---formonths_6_toJQ_;
                                                                                                                                                                                   ;,..,....                 '
                                                                                                                                                                                   1'0                       !

                                                                                to_ _                                                                                               ~~~                      '
                      3.   ...;::$;.;:;0..:.;:.00=----- for months                                                                                                                  .;..·:.
                                                                                                                                                                                    .,,.,
                                                                                                                                                                                    r.:::;;t.


              B. DEBTQR(S)' ATTORNEY'S FEE:                                                              ~NONE            0     PRO BONO                                             :~1
                                                                                                                                                                                     ~--·



Ill.          TREATMENT OF SEOJRED CLAIMS
              A. SECURED CLAIMS:               NONE  0
              [Retain Liens pursuant to II U.S.C. § 1325 (a)(5)] Mortgage(s)!Lien on Real or Personal Property:                                                                                                  I
          I. Creditor: CIT BANK N.A flk/a ONE WEST BANK N.A
                Address: P.O BOX 9013                                     Anearage/ Payoff on Petition Date
                         Addison, Texas 75001                                                                                                                                                                    I
                                                                          MMM Adequate Protection                                _...;;S.:.;I'"'-20;....;1..;.;;.2.:.;5_ /month (Months                 tq,60-
          Last 4 Digits of
          Account No.:                       4071
         Other:




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               t'
                                                                      Debtor(s): MARIA ROSA KOROL YZEN                     Case number: 18-ISSSO..RBR

       ~Real Property                                                            Check one below for Real Property:
               [!rrincipal Residence                                             [!]Escrow is included in the regular payments
               [):>ther Real Property                                            0The debtor(s) will pay     Otaxes      Oinsurance directly
        Address of Collateral:
        I 9548 S. WHITEWATER AVE.
        WESTON, FL. 33332
       0     Personal Property/Vehicle
        Description of Collateral:

            B. VALUATION OF COLLATERAL:                        0   NONE
                     IF YOU ARE A SECURED CREDITOR LISTED BELOW. THE PLAN SEEKS TO VALUE THE COLLATERAL,
                     SECURING YOUR CLAIM IN THE AMOUNT INDICA TED. A SEPARATE MOTION WILL ALSO BE SERVE UPON
                     YOU PURSUANT TO BR 7004 AND LR 3015-3.
                     I. REAL PROPERTY: (i] NONE
                     .
                    1 VEHICLES(S)·     . D NONE
                                                                                                                                            l
           I. Creditor: Americredit Financial             Value of Collateral:             $7,251.31                         Payment            I


              Address: P.O BOX 183853                     Amount of Creditor's Lien:       $9,879.69       Total paid in plan:         $8,640.6
                       Arlington, TX. 76096                                                                                                     I
                                                                                                                                                I

        Last 4 Digits of Account No.: 7576                Interest Rate:    7. 25 (.                           $144.00     /month (Months +to 60 )

        VIN: JNIAZ44E69M411385                                                                                                                  I
                                                                                                                                                I
        Description of Collateral:
        Nissan 370 Z



        Check one below:
        (!]Claim incurred 91 0 days or more pre-
           petition
        OCI~i~ incurred less than 910 days pre-
             petition                                                                                                                               I
                                                                                                                                                    I
                    3. PERSONAL PROPERTY: (i] NONE
            C. LIEN AVOIDANCE (i] NONE
            D. SURRENDER OF COLLATERAL: Secured claims filed by any creditor granted stay relief in this section shall not receive a
                    distribution fom the Chapter 13 Trustee.
               [!] NONE
            E. DIRECT PAYMENTS: Secured claims filed by any creditor granted stay relief in this section shall not receive a distritftion
                    fom the Chapter 13 Trustee.                                                                                                         ':
                                                                                                                                                        I
                    (!]   NONE

IV.         TREATMENT OF FEES AND PRIORITY CLAIMS [as defined in II U.S.C. §507 and II U.S.C. § J322(a)(4)]
            A. ADMINISTRATIVE FEES OTHER mAN DEBTORS(S)' AITORNEY'S FEE: [!] NONE
            B. INTERNAL REVENUE SERVICE:                       0   NONE
             Total Due:               $1,611.83            Total Payment             $1,232.87
              Payable:            $20.55          /month (Months           to 60



            C. DOMESTIC SUPPORT OBLIGATION(S): [!] NONE
            D. omER: (i] NONE


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                    ,.                                                         Debtor(s): MARIA ROSA KOROL YZEN                 Case number: 18-1 5580-RBR
V.             TREATMENT OF UNSECURED NONPRIORIIY CREDITORS
                   A. Pay              $90.86       /month (Months     __!_   to~ )

                           Pro rata dividend will be calculated by the Trustee upon review of filed claims after bar date.

                   B.      0   If checked, the Debtor(s) will amend/modifY to pay IOOOA. to all allowed unsecured nonpriority claims.

                   C. SEPARATELY CLASSIFIED:                   li) NONE
                   •Debtor(s) certify the separate classification(s) of the claim(s) listed above will not prejudice other unsecured nonpriority  1

                                                                                                                                                   1



                   creditors pursuant to II U.S.C. § 1322.                                                                                       i

VI.            EXECUTORY CONTRACfS AND UNEXPIRED LEASES: Secured claims tiled by any creditor/lessor granted stay relief in this
               section shall not receive a distribution from the Ouapter 13 Trustee.                                '                              1




                         [i]   NONE                                                                                                                I


VII.           INCOME TAX RETURNS AND REfUNDS:                          0     NONE
                         [i] The debtor(s) is hereby advised that the chapter 13trustee has requested that the debtor(s) comply with S21(f) l~n an
                               annual basis during the pendency of this case. The debtor(s) hen:by acknowledges that the deadline for providing e
                               Trustee with their filed tax returns is on or before May 15 of each year the case is pending and that the debtor(s)    II
                               provide the trustee (but not file with the Court) with verification of their disposable income if their gross househol income
                               increases by more than 3% over the previous year's income. [Miami cases)
                                                                                                                                                       I,



VIII.          NON-sTANDARD PLAN PROVISIONS                        0NONE                                                                               1




               0         Nonstandard provisions must be set forth below. A nonstandard provision is a provision not otherwise included in the LPcal
                         Fonn or deviating from it Nonstandard provisions set out elsewhere in this plan are void.                             \



               li) Mortgage Modification Mediation




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                 ,.                                                       Debtor(s): MARIA ROSA KOROL YZEN                    Case number: 18-JSSBO-RBR
                       I The debtor has filed a Verified Motion for Referral to MMM with:
                       CIT BANK N.A flk/a ONE WEST BANK N.A                                                                                ("Lender")
                      ------------------------------------------------------------------------
                      loan number I 004 I 84071
                                     ~~~---------------------------------------------------------------------
                       for real property located at 19548 S. WH1TEW ATER AVE. WESTON , FL. 33332

                       The parties shall timely comply with all requirements of the Order of Referral to MMM and all Administrative Orde       ocal
                       Rules regarding MMM. While the MMM is pending and until the trial/interim payment plan or the permanent mortg e
                       modification/permanent payment is established by the parties, absent Court order to the contrary, the debtor has inclu ed a post-
                       petition monthly plan payment (a) with respect to the debtor's homestead, of no less than the lower of the prepetition onthly
                       contractual mortgage payment or 31% of the debtor's gross monthly income (after deducting any amount paid toward HOA fees
                       due for the property) and (b) with respect to income producing property, of no Jess than 75% of the gross income gen ted by
                       such property. as a good faith adequate protection payment to the lender. All payments shall be considered timely upo receipt
                       by the trustee and not upon receipt by the lender.

                       Until the MMM is completed and the Final Report of Mortgage Modification Mediator is filed, any objection to the Jefcr's
                       proof of claim on the real property described above shall be held in abeyance as to the regular payment and mortgage         arage
                       stated in the proof of claim only. The debtor shall assert any and all other objections to the proof of claim prior to con 1rmation
                       of the plan or modified plan.
                                                                                                                                                  I
                       If the debtor. co-obligor/co-borrower or other third party (if applicable) and the lender agree to a settlement as a result fthe
                       pending MMM, the debtor will file the MMM Local Form "Ex Parte Motion to Approve Mortgage Modification Agr                    ent
                       with Lender" (or Self-Represented Debtor's Motion to Approve Mortgage Modification Agreement with Lender) no I                 than
                       14 calendar days following settlement. Once the settlement is approved by the Court, the debtor shall immediately am nd or
                       modifY the plan to reflect the settlement and the lender shall amend its Proof of Claim to reflect the settlement. as appl cable.

                       If a settlement is reached after the plan is confirmed, the debtor will file a motion to modifY the plan no later than 30 ~endar
                       days following approval of the settlement by the Court and the Lender shall have leave to amend its Proof of Claim to fleet
                       the settlement reached after confirmation of the plan. The parties will then timely comply with any and all requiremen
                       necessary to complete the settlement.                                                                                          1




                       In the event the debtor receives any financial benefit from the lender as part of any agreement, the debtor shall   immedi~tely
                       disclose the financial benefit to the Court and the trustee and amend or modifY the plan accordingly.                          1




                                                                                                                                                      !
                                                                                                                                                      'I


                       If the lender and the debtor fail to reach a settlement, then no later than 14 calendar days after the mediator's Final Re~is
                       filed, the debtor will amend or modifY the plan to (a) conform to the lender's Proof of Claim (if the lender has filed a       f of
                       Claim), without limiting the Debtor's right to object to the claim or proceed with a motion to value: or (b) provide that e real
                       property will be "treated outside the plan." If the property is "treated outside the plan," the lender will be entitled to in m stay
                       relief to pursue available state court remedies against the property. Notwithstanding the foregoing, lender may file am tion to
                       confirm that the automatic stay is not in effect as to the real property.

                       Confirmation of the plan will be without prejudice to the assertion of any rights the lender has to address payment of its Proof
                       of Claim.




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                                                                  Debtor(s): MARJA ROSA KOROL YZEN             Case number: 18-1558G-RBR


                    PROPERTY OF THE ESTATE WILL VEST IN THE DEBTOR(S) UPON PLAN CONFIRMATION.

  I declare that the foregoing chapter 13 plan is true and correct under penalty of perjury.

                                                                                                                                I

                                                                                                        Joint Debtor

                                                                                                                             4
   Attorney with pennission to sign on                 Date
            Debtor( s)' behalf
  By filial this document, the Attorney for Debtor(s) or Debtor(s), if not represented by counsel, certifies tbat the wordinea:r,
  order of tbe provisions in Ibis Chapter 13 plan are identical to those contained in Local Form Chapter 13 Plan and tbe pia
  contains no nonstandard provisions other than those set out in paragraph VIII.                                                    1




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                                               UNITED STATES BANKRUPTCY COURT
         ...                                    SOUTHERN DISTRICT OF FLORIDA
                                                          www.flsb.uscourts.gov

In re:MARIA ROSA KOROL YZEN                                              Case No. 18-15580-RBR
                                                                         Chapter 13

                             Debtor        I

                      DEBTOR'S NOTICE OF COMPLIANCE WITH REQUIREMENTS FOR AMENDING
                                          CREDITOR INFORMATION

This notice is being filed in accordance with Local Rules 1007-2(B), 1009-1 (D), or 1019-1 (B) upon the filing of an amehdment
to the debtor's lists, schedules or statements, pursuant to Bankruptcy Rules 1007, 1009, 1019 or 5010-1(B). I certify t~at:

[ ]       The paper filed iddJ, creditor(s) as reflected on the attached list (include name and address of each credittr being
          added). I have:                                                                                             ,
          1.   remitted the required fee (unless the paper is a Bankruptcy Rule 1019{5) report);                      ·
          2.   provided the court with a supplemental matrix of only the added credjtors on a CD or memo~ stick in
               electronic text format (ASCII or MS-DOS text), or electronically uploaded the added creditors in CM/E~F;
          3.   provided notice to affected parties, including service of a copy of this notice and                             1




                a copy of the §341 or post conversion meeting notice [see Local Rule 1009-1{D){2)] and filed a cert!ficate of
                service in compliance with the court [see Local Rule 2002-1(F)];                                      !

          4.   filed an amended schedule(s) and summary of schedules; and                                              ·,
          5.   filed a motion to reopen accompanied by the required filing fee (if adding creditors pursuant to Local Rule
               501 0-1 (B)).

[ ]           The paper filed deletes a creditor(s) as reflected on the attached list (include name and address of each
              creditor being deleted). I have:
              1.    remitted the required fee;
              2.    provided notice to affected parties and filed a certificate of service in compliance with the court [see
                    Local Rule 2002-1(F)]; and
              3.    filed an amended schedule(s) and summary of schedules.

[ ]           The paper filed corrects the name and/or address of a creditor(s) as reflected on the attached list. I have
              1.   provided notice to affected parties, including service of a copy of this notice and a copy of
                   the §341 or post conversion meeting notice [see Local Rule 1009-1 (D)(2)] and filed a certificate of serv1fe
                    in compliance with the court [see Local Rule 2002-1(F)]; and                                             i

              2.   filed an amended schedule(s) or other paper.                                                              '

[ ]       The paper filed cgrrects scheduleD or E/F amount(s) or classification(s). I have:
          1.    remitted the required fee;
          2.   provided notice to affected parties and filed a certificate of service in compliance with the court [see Local
                Rule 2002-1 (F)]; and
          3.   filed an amended schedule(s) and summary of schedules.

l)        None of the above apply. The paper filed does not require an additional fee, a supplemental matrix, or noti4e to
          affected parties. It o does Ill does not require the filing of an amended schedule and summary of schedules.             !,




I also certify that, if filing amended schedules, Bankruptcy Form 106 "Declaration About an Individual Debtor's          Sche~ules"
(signed by both debtors) or Bankruptcy Form 202 , "Declaration Under Penalty of Pe~ury for Non-Individual DebtorJ has
been filed asrequir d by Local Rules 1007-2(B), 1009-1 (A)(2) and (D)(1 ), or 1019-1(B).                        '

      ed: \    'l \ L.    ·w\

                                                               Address


Florida Bar Number                                             Phone Number

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                    UNITED STATES BANKRUPTCY COURT
                     SOUTHERN DISTRICT OF FLORIDA
                         FT. LAUDERDALE DIVISION
                             www.flsb.uscourts.gov
                                                                                i
                                                     CASE NO: 18-15580-RBRI
 In re:
 MARIA ROSA KOROL YZEN
 Debtor
----------------------~'

                           CERTIFICATE OF SERVICE


I HEREBY CERTIFY that on December 12, 2018 a true and correct copy of
the Seventh Amended Chapter 13 Plan was sent by US. Mail to: Robin R.
Weiner, Chapter 13 Trustee at P.O Box 559007, Ft. Lauderdale, FL. 33355
and to the persons or entities mentioned in the list of creditors at the last
k own addresses in this Bankruptcy case.




MARIA ROSA KOROLYZEN
  \
19548
   1
      S. Whitewater Ave.
Weston, FL. 33332
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     Creditor:      (94547285)
     American Express National
     Bank
     c/o Becket and Lee LLP
     PO Box 3001
     Malvern PA 19355-0701



 Creditor:      (94552896)
 Americredit Financial
 Services, Inc.
 Dba GM Financial
 P.O. Box 183853
 Arlington, TX 7 6096

 Creditor:       (9461 0590)
 Ashley Funding Services, LLC
 its successors and
 assigns as assignee of
 Laboratory
 Corporation of America
 Holdings
 Resurgent Capital Services
 PO Box 10587
 Greenville, SC 29603-0587



 Creditor:       (9461 0590)
 Ashley Funding Services, LLC
 its successors and
 assigns as assignee of
 Laboratory
 Corporation of America
 Holdings
 Resurgent Capital Services
 PO Box 10587
 Greenville, SC 29603-0587
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     Creditor:       (94610590)
     Ashley Funding Services, LLC
     its successors and
     assigns as assignee of
     Laboratory
     Corporation of America
     Holdings
     Resurgent Capital Services
     PO Box 10587
     Greenville, SC 29603-0587

     Creditor:      (94696671)
     IRS
     POB 7346
     Philadelphia, PA 19101

    Creditor:      (94748443)
    Cit Bank N.A flk/a One West
    Bank
    Loan Care
    POB 8068
    Virginia Beach, VA 23450-
    4968
